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                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA


TELISA CLARK, et al.,

                          Plaintiffs,
                                                             Case. No.: 3:20-cv-00308-SDD-RLB
   v.

JOHN BEL EDWARDS, et al.,

                      Defendants.

POWER COALITION FOR EQUITY AND
JUSTICE, et al.,

                          Plaintiffs,
                                                             Case No.: 3:20-cv-00283-SDD-RLB
   v.

JOHN BEL EDWARDS, et al.,

                          Defendants.


PLAINTIFFS’ JOINT MOTION TO AMEND THE COURT’S PRE-HEARING ORDER
                             [DKT. 28]
        Plaintiffs respectfully move this Court for two amendments to the Court’s Order of

June 8, 2020, Dkt. 28, regarding the pre-hearing procedures regarding the motions for

preliminary injunction.

        1.     The disclosure of expert declarations and fact witness declarations or proffers on

June 18, 2020. The first amendment concerns the timing of the disclosure of expert witness

declarations, as well as the disclosure of declarations or proffers regarding the testimony of any

fact witness. This request is prompted both by Defendants’ refusal to enter into reasonable

evidentiary stipulations and basic fairness.
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       Pursuant to the Court’s directive that the parties attempt to enter into evidentiary

stipulations, on Monday, June 15, 2020, Plaintiffs met and conferred with Defendants and

proposed that first-level hearsay objections be waived as to such declarations, so that the hearing

could focus efficiently on substantive matters. Under this proposal, all expert and fact witnesses

would, of course, still have been made available for cross-examination. Defendants rejected this

proposal.

       Plaintiffs further proposed that Defendants provide their expert witness declarations on

Thursday, June 18, 2020. As for fact witnesses, Plaintiffs proposed that Defendants should

provide either a declaration or proffer on that same date. Again, Defendants rejected this

proposal. They instead stated that they will provide their expert declarations (and any other

declarations) when they file their opposition to the pending motions (on Monday, June 22, 2020).

       Defendants’ refusal to reach a reasonable evidentiary stipulation as to first-level hearsay

of the declarations of course means that the hearing will be prolonged. Their position is that all

evidence must come in through live testimony.

       Defendants’ position on the timing of their disclosures is calculated to afford them a

significant tactical advantage. Defendants have had more than 25 days to review the expert and

fact witness declarations in the Power Coalition case and 11 days to review the expert and fact

witness declarations in the Clark case. They have had literally weeks to prepare their cross-

examination of Plaintiffs’ expert and fact witnesses. By contrast, they would give Plaintiffs a

single day before the hearing (during which time Plaintiffs would also be working on their Reply

brief) to prepare the cross-examination of Defendants’ experts. Basic fairness dictates that

Defendants’ expert and fact witness declarations must be submitted along with their witness list

on Thursday, June 18, 2020.




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       2.        The exchange of the exhibits listed on the parties’ exhibit lists on June 18, 2020.

Plaintiffs also proposed a mutual exchange of the exhibits listed on the parties’ exhibit lists on

June 18, 2020. The idea is straightforward: such an exchange would permit the parties to review

the exhibits over the weekend. And while this time would be afforded to both sides, it also bears

emphasis that Defendants have had a clear view of the core documents in Plaintiffs’ case since

the date that the pending motions were filed. Plaintiffs’ proposal only seeks to level the playing

field, at least to some small degree, so that Plaintiffs’ counsel have a few days to review the

exhibits before the hearing.

       In the end, Plaintiffs submit that Defendants cannot have it both ways. They cannot insist

that all evidence must go in live and also that they be able to conduct a trial by ambush. Fairness

and efficiency both argue for the adoption of Plaintiffs’ two proposed modifications of the

Court’s order and, respectfully, Plaintiffs move this Court to order that all expert and fact witness

declarations or proffers, as well as all exhibits, be produced to Plaintiffs on or before Thursday,

June 18, 2020.




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DATED this 15th day of June, 2020.              Respectfully submitted,

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